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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION
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UNITED STATES OF AMERICA                                                CiX?!',, t f ~ 3GiC;i?:;i 6 3 W T
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DAVID GOODMAN
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                                                ORDER

          Before this Court is the Report and Recommendation entered by the United States

Magistrate Judge (Doc. No. 635, filed August 3,2005) recommending that Defendant

 Goodman's Motion to Suppress Items Seized During Unlawf3l Search of David Goodman's

 Private Studio (Doc. No. 446, filed April 29,2005) be denied. Defendant Goodman timely filed

 objections. (Doc. No. 679, filed August 19,2005).

           Upon thorough consideration of the Report and Recommendation and Defendant's

 objections, and upon conducting an independent de novo review of the entire record in this

 matter, the Magistrate Judge's Report and Recommendation (Docs. Nos. 635) is ADOPTED, and
                                   1
 is specifically incorporated into this Order. Accordingly, the Defendant's Motion to Suppress

 Items Seized (Doc. No. 446) is DENIED.

           DONE AND ORDERED at Ja




     Copies to:
     Thomas George Fallis, Esq.
     Clyde M. Collins, Jr., Esq.
     0. David Barksdale, Esq.
     William E. Folsom, Esq.
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